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QO 442 (Rev, 01/09) Arrest Warrant

 

UNITED STATES DISTRICT COURT

for the

Eastern District of Virginia

United States of America

 

V. )
Case No, 1:14-mj-771
AHMED CHARAI )
a/k/a "Moulay Ahmed Charai" )
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) AHMED CHARAI
who is accused of an offense or violation based on the following document filed with the court:

 

© Indictment CO Superseding Indictment O Information C) Superseding Information @ Complaint

© Probation Violation Petition O Supervised Release Violation. Petition O Violation Notice O Order of the Court

This offense is briefly described as follows:

Failure to file a report of the transportation of currency of more than $10,000 into the United States, in violation of Title 31,
United States Code, Section 5324(c).

fs/

 

‘ Ce roll Buchanan

“rates Magistrate Judge
Date: 09/15/2011 CR EIS ig

Issuing officer's signature

City and state: Alexandria, Virginia The Hon. Theresa C. Buchanan, U.S. Magistrate Judge

Printed name and title

 

 

 

Return

This warrant was eA on (date) 4] | IS L pn , and the person was arrested on (date) | oS | |
at (city and state) Dalles , NR

Date: | \O ha ag al aot
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( we

ulie Hilazio Special Apex

Printed name and title

 

 

 

 

 

Approved by AUSA Ryan Dickey

 
